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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN

NICKOLAS A. WRONA,                           §
                                             §       Case No. 1:17-cv-178
       Plaintiff                             §
                                             §
-v-                                          §
                                             §       Hon. Janet T. Neff
CAVALRY SPV I, LLC                           §
                                             §
       Defendant.                            §

                      STIPULATION OF VOLUNTARY DISMISSAL
                         PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)

       IT IS HEREBY STIPULATED AND AGREED by the parties and/or their respective
counsel that the above captioned matter is voluntarily dismissed with prejudice pursuant to Federal
Rule of Civil Procedure 41(a)(1)(A)(ii).

 JEFFREY D. MAPES PLC                             PILGRIM CHRISTAKIS LLP


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Dated:__10/24/17_____                                Dated:__10/24/17_____
